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 7
     Attorneys for Defendant
 8 UNIVERSAL STUDIOS HOLLYWOOD a
     registered DBA of UNIVERSAL CITY STUDIOS
 9 LLC (erroneously sued as “UNIVERSAL CITY
     SUDIOS LLC”)
10
                          UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12
     RAUL VARGAS, an individual,               Case No. 2:22-cv-4337
13
                 Plaintiff,                    DEFENDANT UNIVERSAL CITY
14                                             STUDIOS LLC’S NOTICE OF
           v.                                  REMOVAL TO UNITED STATES
15                                             DISTRICT COURT
16 UNIVERSAL STUDIOS                           [Filed concurrently with Civil Cover
   HOLLYWOOD; UNIVERSAL CITY                   Sheet and Corporate Disclosure
17 SUDIOS LLC; and DOES 1 through              Statement and Certificate of Interested
   100, inclusive,                             Parties]
18
                 Defendants.
19                                             Complaint Filed: May 23, 2022
                                               Trial Date:      None
20                                             District Judge: Hon. ____________
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                                                                       Case No. 2:22-cv-4337
                  DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                              TO UNITED STATES DISTRICT COURT
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 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF RAUL VARGAS AND
 3   HIS ATTORNEYS OF RECORD:
 4         PLEASE TAKE NOTICE THAT defendant Universal City Studios LLC,
 5   and its registered DBA Universal Studios Hollywood, (erroneously sued as
 6   “Universal Studios Hollywood and Universal City Sudios LLC”) (“Defendant”)
 7   removes this action from the Los Angeles County Superior Court to the United
 8   States District Court for the Central District of California pursuant to 28 U.S.C. §§
 9   1331, 1367(a), 1441(a) and (c), and 1446, because the action filed by plaintiff Raul
10   Vargas (“Plaintiff”) presents a federal question by asserting claims under the
11   Americans With Disabilities Act of 1990 (“ADA”) [42 U.S.C. §§ 12101, et seq.].
12   These facts were true at the time the Complaint in this matter was filed and remain
13   true as of the date of the filing of this notice of removal, as more fully set forth
14   below:
15   I.    THE STATE COURT ACTION
16         On or about May 23, 2022, Plaintiff filed his Complaint, entitled Raul Vargas
17   v. Universal Studios Hollywood and Universal City Sudios LLC, and DOES 1
18   through 100 inclusive, in the Superior Court of the State of California for the County
19   of Los Angeles, Case No. 22STCV16953. The causes of action in the Complaint
20   include: (1) violation of the Americans with Disabilities Act of 1990 (“ADA”);
21   (2) violation of the Unruh Civil Rights Act, California Civil Code section 51 et seq.
22   (“Unruh Act”); (3) violation of the Disabled Persons Act, California Civil Code
23   section 54 et seq. (“DPA”); (4) negligence; (5) false imprisonment; and
24   (6) intentional infliction of emotional distress. On May 27, 2022, Plaintiff completed
25   service of process on Defendant by leaving the Summons and Complaint with
26   Defendant’s registered agent for service of process. See Cal. Code Civ. Proc. §
27   415.10. A true and correct copy of the Complaint is attached to this Notice of
28   Removal as Exhibit A. On June 22, 2022, Defendant filed its Answer to Plaintiff’s
                                           1                          Case No. 2:22-cv-4337
                    DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                                TO UNITED STATES DISTRICT COURT
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 1   Complaint. A true and correct copy of Defendant’s Answer to the Complaint is
 2   attached to this Notice as Exhibit B.
 3         Plaintiff named Universal Studios Hollywood and Universal City Studios LLC
 4   (erroneously sued as “Universal City Sudios LLC”) as the defendants in the
 5   Complaint, and he has not yet identified any of the fictitious “Doe” defendants
 6   named in the Complaint. Universal Studios Hollywood is a registered DBA of
 7   Universal City Studios LLC, and not a separate entity.
 8         In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is filed in the
 9   United States District Court for the Central District of California, which is the
10   district court within which the action is pending. The Superior Court is located
11   within the Central District of California. Therefore, venue is proper in this Court
12   pursuant to 28 U.S.C. § 84(c)(1) to the extent it is the “district and division
13   embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
14   II.   REMOVAL IS TIMELY
15         Each defendant in a civil action has thirty (30) days from the date it is validly
16   served with a Summons and Complaint to remove the action to federal court.
17   28 U.S.C. § 1446(b); see Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526
18   U.S. 344, 347-48 (1999); Destfino v. Reiswig, 630 F.3d 952, 956 (9th Cir. 2011).
19   This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b) and Rule 6 of the
20   Federal Rules of Civil Procedure in that Defendant was originally served with a copy
21   of the Complaint on May 27, 2022 (see Cal. Code Civ. Proc. § 415.20), no more than
22   thirty (30) days before the filing of this Notice.
23         The consent of fictitious “Doe” defendants is not required because they have
24   not been served. Destfino, 630 F.3d at 957. Thus, all defendants who have been
25   properly served in this action have consented to this removal. Therefore, this Notice
26   of Removal is timely.
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                                               2                         Case No. 2:22-cv-4337
                    DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
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 1   III.   FEDERAL QUESTION JURISDICTION EXISTS UNDER 28 U.S.C. §
 2          1441(B) AND (C)
 3          This action is one over which this Court has original jurisdiction under
 4   28 U.S.C. § 1331, and is one which may be removed to this Court pursuant to the
 5   provisions of 28 U.S.C. § 1441(a), in that it arises under a federal statute, namely, the
 6   ADA [42 U.S.C. §§ 12101, et seq.].
 7          Plaintiff’s first cause of action alleges violations of the ADA [42 U.S.C.
 8   §§ 12101, et seq.]. (Ex. A, Complaint ¶¶ 24-33.) Accordingly, Plaintiff’s lawsuit is
 9   removable to this Court because there is federal question jurisdiction. See Emich v.
10   Touche Ross & Co., 846 F.2d 1190, 1196 (9th Cir. 1988).
11          Pursuant to 28 U.S.C. § 1367, this Court has the discretion to exercise
12   supplemental jurisdiction over the state law claims in Plaintiff’s Complaint because
13   the state law claims are transactionally-related to Plaintiff’s ADA cause of action.
14   The state law claims derive from the same common nucleus of operative facts as the
15   federal claim. See United Mine Workers of America v. Gibbs, 383 U.S. 715, 725
16   (1966); Emich, 846 F.2d at 1196. More specifically, Plaintiff’s claims under the
17   Unruh Act and the Disabled Person’s Act and his common law claims for
18   negligence, false imprisonment, and intentional infliction of emotional distress are
19   all based on the same allegations as Plaintiff’s ADA claim that Plaintiff was
20   subjected to discrimination because of his disability due to Defendant’s failure to
21   provide an accessible route of travel for persons who use wheelchairs at the
22   Universal Studios Hollywood theme park in Universal City, California. (See
23   Complaint ¶¶ 17-23, 35-39, 45-47, 55, 63, 70.) Accordingly, exercising
24   supplemental jurisdiction over Plaintiff’s state law claims is appropriate.
25   IV.    ALL PROCEDURAL REQUIREMENTS HAVE BEEN MET
26          Pursuant to 28 U.S.C. §1446(d), Defendant will give written notice of the
27   removal of this action to all parties and will file a copy of that Notice with the
28   Superior Court of California, County of Los Angeles. True and correct copies of the
                                              3                         Case No. 2:22-cv-4337
                    DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                                TO UNITED STATES DISTRICT COURT
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 1   notice to Plaintiff and to the state court will be filed promptly in this Court. In
 2   accordance with 28 U.S.C. § 1446(a), this Notice of Removal is accompanied by
 3   Exhibit C, which is a copy of all process, pleadings, and orders served upon
 4   Defendant in this action.
 5   V.    CONCLUSION
 6         Because this civil action presents a federal question, Defendant respectfully
 7   requests that this Court exercise its removal jurisdiction over this action.
 8         In the event this Court has a question regarding the propriety of this Notice of
 9   Removal, Defendant requests that it issue an Order to Show Cause so that it may
10   have an opportunity to more fully brief the Court on the basis for this removal.
11

12                                           Respectfully submitted,
13   DATED: June 24, 2022                    OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.
14

15

16                                           By: /s/ J. Nicholas Marfori
                                                 David Raizman
17                                               Amber L. Roller
                                                 J. Nicholas Marfori
18
                                             Attorneys for Defendant
19                                           UNIVERSAL STUDIOS HOLLYWOOD a
                                             registered DBA of UNIVERSAL CITY
20                                           STUDIOS LLC (erroneously sued as
                                             “UNIVERSAL CITY SUDIOS LLC”)
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                                               4                         Case No. 2:22-cv-4337
                    DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                                TO UNITED STATES DISTRICT COURT
Case 2:22-cv-04337-FLA-SK Document 1 Filed 06/24/22 Page 6 of 7 Page ID #:6



 1                                 PROOF OF SERVICE
                       Raul Vargas v. Universal Studios Hollywood, et al.
 2                                  Case No. 2:22-cv-4337
 3        I am and was at all times herein mentioned over the age of 18 years and not a
   party to the action in which this service is made. At all times herein mentioned I
 4 have been employed in the County of Los Angeles, in the office of a member of the
   bar of this court at whose direction the service was made. My business address is
 5 400 South Hope Street, Suite 1200, Los Angeles, CA 90071.

 6         On June 24, 2022, I served the following document(s):
 7       DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF
              REMOVAL TO UNITED STATES DISTRICT COURT
 8 by placing   (the original)    (a true copy thereof) in an email and/or sealed
   envelope addressed as stated on the attached mailing list.
 9
           BY MAIL: I placed the envelope for collection and mailing, following our
10         ordinary business practices. I am readily familiar with the practice of Ogletree,
           Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
11         correspondence for mailing. On the same day that correspondence is placed for
           collection and mailing, it is deposited in the ordinary course of business with
12         the United States Postal Service, in a sealed envelope with postage fully prepaid.
13   ☒     BY CM/ECF: With the Clerk of the United States District Court of California,
14         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
           notification of the foregoing filing to the parties and counsel of record who are
15
           registered with the Court’s CM/ECF System.
16

17                                      SERVICE LIST

18   Silvia E. Luna, Esq.                        Attorneys for Plaintiff
     LUNA LEGAL FIRM                             RAUL VARGAS
19   16501 Ventura Blvd., Suite 400              Telephone:     (213) 444-6736
     Encino, California 91436                    Facsimile:     (213) 210-2694
20                                               Email: sluna@lunalegalfirm.com
21
           (Federal) I declare that I am employed in the office of a member of the State
22         Bar of this Court at whose direction the service was made. I declare under
23         penalty of perjury under the laws of the United States of America that the above
           is true and correct.
24

25         Executed on June 24, 2022, at Los Angeles, California.
26   CHEREE L. CASTILLE                                  /s/ Cheree L. Castille
27   Type or Print Name                                  Signature
28
                                               5                         Case No. 2:22-cv-4337
                    DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                                TO UNITED STATES DISTRICT COURT
Case 2:22-cv-04337-FLA-SK Document 1 Filed 06/24/22 Page 7 of 7 Page ID #:7



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                                           6                         Case No. 2:22-cv-4337
                DEFENDANT UNIVERSAL CITY STUDIOS LLC’S NOTICE OF REMOVAL
                            TO UNITED STATES DISTRICT COURT
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